                     Case: 23-10362 Document: 10 Page: 1 Date Filed: 04/10/2023
                  NOTICE OF FORM FOR APPEARANCE (See Fifth Cir. Rule 12)
Only attorneys admitted to the Bar of this Court may practice before the Court. Each attorney representing a
party must complete a separate form. (COMPLETE ENTIRE FORM).
                              Fifth Cir. Case NO.          23-10362

Alliance for Hippocratic Medicine                                           vs.   FDA
(Short Title)
The Clerk will enter my appearance as Counsel for                  Danco Laboratories LLC



______________________________________________________________________________________________________________
(Please list names of all parties represented, attach additional pages if necessary.)
The party(s) I represent IN THIS COURT                   Petitioner(s)           Respondent(s) Amicus Curiae

                                   ✔     Appellant(s)                  Appellee(s)                              Intervenor

   ✔ I certify that the contact information below is current and identical to that listed in my Appellate Filer
Account with PACER.
  /s/ Jessica L. Ellsworth                                                        jessica.ellsworth@hoganlovells.com
(Signature)                                                                       (e-mail address)

 Jessica L. Ellsworth                                                             D.C. Bar # 484170
(Type or print name)                                                              (State/Bar No.)


(Title, if any)

 __________________________________________________________________________________________
 Hogan Lovells US LLP
(Firm or Organization)
Address                  555 Thirteenth Street, N.W.

City & State Washington,             D.C.                                                              Zip 20004

Primary Tel._ (202)          637-5600          Cell Phone:
NOTE: When more than one attorney represents a single party or group of parties, counsel should designate a lead counsel. In
the event the court determines oral argument is necessary, lead counsel only will receive via e-mail a copy of the court's docket
and acknowledgment form. Other counsel must monitor the court's website for the posting of oral argument calendars.
Name of Lead Counsel: Jessica
                          ________________________________________________________________________________
                                   L. Ellsworth
A. Name of any Circuit Judge of the Fifth Circuit who participated in this case in the district or bankruptcy court.
 N/A
B. Inquiry of Counsel. To your knowledge:
           (1) Is there any case now pending in this court, which involves the same, substantially the same, similar or related isssue(s)?
                                        Yes                           No
                                                                  ✔
           (2) Is there any such case now pending in a District Court (i) within this Circuit, or (ii) in a Federal Administrative Agency which
           would likely be appealed to the Fifth Circuit?
                                         Yes                          No
                                                                  ✔
           (3) Is there any case such as (1) or (2) in which judgment or order has been entered and the case is on its way to this Court by appeal,
           petition to enforce, review, deny?
                                          Yes                          No
                                                                  ✔
         (4) Does this case qualify for calendaring priority under 5th Cir. R. 47.7? If so, cite the type of case
If answer to (1), or (2), or (3), is yes, please give detailed information. Number and Style of Related Case:




Name of Court or Agency

Status of Appeal (if any)_
Other Status (if not appealed)
NOTE: Attach sheet to give further details.                                                                         DKT-5A REVISED January 2022
